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                      UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF OKLAHOMA

JANA M. TURK,                                 )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )   Case No. CIV-17-643-W
                                              )   Okla. Cnty. Case No. CJ-2017-1922
LYNN MARLENE FREEMAN,                         )
an Individual, and                            )
DOWELL TRANSPORT, INC.,                       )
an Arkansas Corporation,                      )
                                              )
        Defendants.                           )

                                NOTICE OF REMOVAL

     Defendant Dowell Transport, Inc. notifies the Court and all involved parties of removal

of this action from the Oklahoma District Court of Oklahoma County to the United States

District Court for the Western District of Oklahoma. Removal of this action is authorized by

28 U.S.C. §§ 1332, 1441, and 1446. In support of its Notice of Removal, Dowell alleges and

states the following:

     1. The action styled Jana M. Turk, Plaintiff, v. Lynn Marlene Freeman, an Individual,

        and Dowell Transport, Inc., an Arkansas Corporation, Defendants. Case No. CJ-

        2017-1922 commenced on April 4, 2017 in Oklahoma County District Court. On May

        17, 2017, Turk filed her First Amended Petition and served Dowell on May 23, 2017.

        On June 7, 2017, Dowell answered Turk’s First Amended Petition.

     2. Notice of Removal was filed within 30 days after Dowell was served with Turk’s First

        Amended Petition as required by 28 U.S.C. § 1446(b). No other Defendant is required
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      to consent to this removal action because Turk has not served any other Defendant,

      nor has any other Defendant filed a responsive pleading.

3. 28 U.S.C. § 1332 authorizes the Court to exercise original jurisdiction over this case

      because the amount in controversy exceeds $75,000, exclusive of interest and costs,

      and the parties are citizens of different states.

4. Turk’s First Amended Petition states that she seeks damages exceeding $75,000.00.

5. Plaintiff Jana M. Turk is a citizen Oklahoma.

6. Defendant Lynn Marlene Freeman (deceased) was a citizen of Arknansas.

7. Defendant Dowell Transport, Inc. is an Arkansas corporation with its principal place

      of business in Arkansas.

8. Complete diversity of citizenship exists because, at all relevant times, Plaintiff was

      a citizen of Oklahoma and Defendants were located in states other than Oklahoma.

9. Because the Court has original jurisdiction, 28 U.S.C. § 1441(a) permits removal of

      this case to federal court.

10.      Copies of all process, pleadings, and orders are attached:

         Exhibit 1      OSCN Case Summary dated June 8, 2017

         Exhibit 2      Pauper’s Affidavit dated April 3, 2017

         Exhibit 3      Petition dated April 4, 2017

         Exhibit 4      Plaintiff’s First Amended Petition dated May 17, 2017

         Exhibit 5      Defendant Dowell Transport, Inc.’s Answer to Plaintiff’s First
                        Amended Petition dated June 7, 2017
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          Exhibit 6      Defendant Dowell Transport, Inc.’s Suggestion of Death Upon the
                         Record (not file-stamped)

          Exhibit 7      Civil Cover Sheet

   11.    In compliance with 28 U.S.C. § 1446(d), Dowell will serve Turk with written

          notification of this Notice of Removal, and will file a copy with the Court Clerk

          of Oklahoma County, Oklahoma.

   Because the Court has the authority to exercise original jurisdiction, Defendant Dowell

Transport, Inc. requests removal of this case to federal court.

                                                  Respectfully submitted,


                                                  __________________________________
                                                  Mehry Taremi, OBA # 31726
                                                  MILLS & JONES, PLLC
                                                  2760 Washington Drive, Suite 100
                                                  Norman, Oklahoma 73069
                                                  (405) 239-2501-t (405) 239-2575-f
                                                  Attorneys for Defendant
                                                  Dowell Transport, Inc.

                             CERTIFICATE OF SERVICE

   I certify that on June 8, 2017 I electronically transmitted the attached document to the
Clerk of Court using the ECF System for filing. Based on the records currently on file, the
Clerk of Court will transmit Notice of Electronic Filing to the following ECF registrant:

   G. Robert Carpenter, Esq.
   bcarpenter4law@gmail.com
   5030 N. May Avenue, Suite 144
   Oklahoma City, Oklahoma 73112
   Attorneys for Plaintiff


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